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 1                                                                       HONORABLE TANA LIN

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 6                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 7                                             AT SEATTLE

 8   NEXON KOREA CORPORATION, a Korean
     Corporation,                                          Case No.: 2:23-cv-00576-TL
 9
                        Plaintiff,                         DECLARATION OF YI-KWON
10             v.                                          HWANG IN SUPPORT OF
                                                           PLAINTIFF’S OPPOSITION TO
11   IRONMACE CO., LTD., a Korean                          DEFENDANTS’ MOTION TO
     Corporation; JU-HYUN CHOI, individually;              DISMISS FOR FORUM NON
12   and TERENCE SEUNGHA PARK,                             CONVENIENS
     individually,
13                                                         NOTE ON MOTION CALENDAR:
                        Defendants.                        JULY 14, 2023
14
                                                           ORAL ARGUMENT REQUESTED
15
     I, Yi-kwon Hwang, hereby declare as follows:
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          1.        I am the Deputy Division Manager of the New Development Division at Nexon Korea
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     Corporation (“Nexon”). I am over 18 years of age. The statements made herein, which are based
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     on personal knowledge and my review of Nexon’s corporate documents and company records, are
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     known by me to be true and correct, and if called upon, I could and would competently testify to
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     those facts. I submit this declaration in support of Nexon’s opposition (the “Opposition”) to
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     Defendants’ motion to dismiss on grounds of forum non conveniens (the “Motion”) in the above
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     captioned lawsuit.
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 1                                       Professional Background

 2        2.     I first joined a subsidiary of Nexon in 2012. From August 2012 to December 2016, I

 3   worked at Nexon GT Co., Ltd., a subsidiary of Nexon. From January 2017 to February 2020, I

 4   worked at Nexon RED Corp., a sub-subsidiary company of Nexon. I joined Nexon in March 2020.

 5        3.     I have been Director of the Development Technology Department at Nexon since March

 6   2020 as well as Deputy Leader of the New Development Division since April 2020.

 7        4.     As Director of the Development Technology Department, I provide technical support to

 8   improve productivity in game development. I manage collaboration and issue management tools,

 9   and I provide server development support (e.g., developing server engines) and server

10   development resources (e.g., internal servers and necessary cloud resources such as those provided

11   by Amazon Web Services (“AWS”)).

12        5.     As Deputy Leader of the New Development Division, my responsibilities include

13   overseeing human resources tasks (e.g., recruitment, personnel management), authorizing

14   electronic approvals (e.g., expenses), and organizing bi-weekly meetings for Directors of the New

15   Development Division to discuss project development environment, work environment, and

16   organizational management. As a member of the New Development Division Headquarter, I

17   participate in decision-making and project evaluation. I also participate in technical decision-

18   making where I assess and review implementation of new technologies and work environment,

19   such as remote working during the COVID-19 pandemic.

20        6.     I have first-hand involvement with and knowledge of the P3 project (“P3”), including

21   working with Ju-Hyun Choi (“Choi”) in connection with the project. First, as a member of the

22   New Development Division Headquarter, I was one of the people at the division level to evaluate

23   P3 and approve the game to progress to pre-production stage of development. Second, I was also

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 1   involved with personnel assignment and recruitment of programmers for the P3 project. I also

 2   communicated with Choi about Nexon’s restrictions on exporting P3 source code to external

 3   servers. Additionally, as Director of the Development Technology Department, I provided the

 4   resources and environment necessary for P3 development including collaboration management

 5   tools (e.g., Confluence) and issue management tools (e.g., Jira), and I oversaw development

 6   servers at Nexon.

 7                                 Nexon’s Business in the United States

 8        7.     Nexon is a global producer, developer, and operator of video games. Nexon specializes

 9   in online games for personal computers (“PCs”) and mobile devices. Directly and through its

10   subsidiaries and affiliates, Nexon has developed and operated more than 80 games across 190

11   countries. The United States is one of Nexon’s largest markets.

12        8.     Nexon is a wholly-owned subsidiary of Nexon Co., Ltd. (“Nexon Co.”), a publicly

13   traded Japanese corporation. Within the Nexon group, Nexon acts as the operational head of

14   Nexon group’s gaming business. The Nexon group collectively has over 400 employees in the

15   United States. Although Nexon is incorporated in Korea, it has a significant presence and engages

16   in substantial business activities in the United States through its subsidiaries and affiliates.

17        9.     Below is a partial list of Nexon’s U.S.-based affiliated companies:

18             (a) Nexon America Inc., a subsidiary of Nexon Co., which is headquartered in El Segundo,

19                California, has over 150 employees.          Nexon America Inc. introduced micro-

20                transactions and a free-to-play business model in the U.S. market and localizes popular

21                Nexon titles such as “MapleStory” and “Mabinogi” for gameplay by U.S. users. Nexon

22                and Nexon Co. oversee the operations of Nexon America Inc.

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 1           (b) As part of Nexon’s efforts to expand its U.S. base, Nexon established Nexon US

 2                Holding Inc. in February 2016. Nexon US Holding Inc. is headquartered in El

 3                Segundo, California and has over 30 employees. In 2016, Nexon US Holding Inc.

 4                acquired Big Huge Games, Inc. Since then, Big Huge Games, Inc. has been operating

 5                as Nexon US Holding Inc.’s subsidiary and continues to produce new titles and

 6                maintains “DomiNations.”

 7           (c) In 2017 Nexon US Holding Inc. acquired Pixelberry Studios, an American mobile

 8                game development company.          Pixelberry Studios is based in Mountain View,

 9                California, and has over 190 employees.

10           (d) Nexon Filmed Entertainment Inc., founded by Nexon Co. initially as Nexon Studios in

11                2021, is based in Beverly Hills, California.

12           (e) In 2022, Nexon Co. purchased a significant minority stake in AGBO. AGBO, a

13                production company based in Los Angeles, California, employs over 100 people. One

14                of AGBO’s recent productions is the Academy Award winning film “Everything

15                Everywhere All at Once.”

16        10.    The United States is one of the Nexon group’s biggest markets, and the Nexon group’s

17   efforts to expand its U.S. businesses have been successful. For example, Nexon group’s revenue

18   from North America in 2022 was 13 billion Japanese yen (approximately USD 90 million).

19        11.    Seventeen of the Nexon group’s PC games and thirty-three of its mobile games are

20   currently available in the United States.

21        12.    PC games popular in the United States include “Vindictus,” “MapleStory,” and

22   “Mabinogi.” Mobile device games popular in the United States include “Choices: Stories You

23   Play,” “MapleStory M,” and “Blue Archives.”

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 1                                       Nexon and the P3 Project

 2        13. Nexon launched the P3 project on July 22, 2020, and invested significant financial

 3   resources, time, and manpower to build it. P3 was anticipated to be a game in a unique genre that

 4   incorporated first person shooter (FPS), role playing game (RPG), person versus person versus

 5   environment (PvPvE), medieval fantasy, dungeon adventure, and extraction shooter. No other

 6   Nexon title incorporates all of these gaming elements.

 7              Nexon Fully Supported the P3 Project and Intended to Release the Game

 8        14. Nexon viewed P3 as a promising project.            Defendants’ statements that Nexon’s

 9   management lacked faith in P3 and did not support the project are simply false. See Dkt.#29, at 3;

10   Dkt.#33, ¶ 10. P3 received positive reviews and was seen as a “fun” game that would be

11   commercially viable.

12        15.    Nexon ran internal playtests to improve P3 by finding the appropriate difficulty level,

13   balancing challenges and rewards throughout the game, implementing a player-friendly interface

14   with a captivating game map, and developing the overall look and feel of the game. During a

15   target group playtest held in April 2021, reviewers provided positive feedback on the “fun”

16   elements of P3. During a May 2021 director group playtest, P3 received positive feedback at the

17   director level regarding P3’s genre, character class, PvPvE characteristic, and immersive

18   gameplay.

19        16.    Furthermore, on May 11, 2021, Dae-Hwon Kim, Vice President of Nexon, personally

20   emailed Choi, copying members of Nexon’s “New Production All Leaders,” “New Production

21   Group,” “New Production HQ” and “Dev Strategy Planning” to inform Choi that P3 had completed

22   prototyping and had the green light to enter pre-production. In the same email, Dae-Hwon Kim

23   instructed Choi to move faster so that P3 could be released to the public via early access in

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 1   November 2021 and acknowledged that there was a need by Choi’s team for a prompt release of

 2   P3. In response, Choi said he would prepare P3 with November as the target deadline. A true and

 3   correct copy of the email exchange and translation are appended hereto as Exhibit A.

 4          17.   To support the development of the P3 project, Nexon staffed 23 people on the P3 team.

 5   Contrary to Defendants’ false claims that the P3 team was staffed with only around 10 people, see

 6   Dkt.#29, at 3; Dkt.#32, at ¶ 8; Dkt.#33, ¶ 10, 23 Nexon employees worked on P3 from July 2020

 7   to August 2021. The P3 team included eight programmers (including Choi), eleven artists, two

 8   game planners (including Terence Park (“Park”)), one mobile designer, and one sound designer.

 9   Choi was the director of the P3 project, and Park, who is a U.S. citizen, was the Director of Game

10   Development and the lead game designer of the P3 project.

11          18.   Nexon even made exceptions to its usual recruitment policy so that it could add members

12   to the P3 team at an expedited pace. For instance, I permitted exceptions to Nexon’s usual

13   recruitment policy so that at least two people could join the P3 team quickly.

14          19.   In addition, Nexon valued Choi and Park as integral members of the P3 project. Choi

15   and Park, who held leadership roles within the P3 project development team, were involved with

16   drafting game planning documents and had access to P3 trade secrets, including source code, build

17   files, and resources. Nexon placed great trust in Choi as a programmer and a project leader. Choi

18   was assigned leadership roles such as the director of the P3 project and Project LF (predecessor of

19   P3).

20          The P3 Project Rapidly Progressed Through Development Before Park and Choi’s

21                                            Wrongful Conduct

22          20.   Game development generally progresses in the following stages: pitching, prototyping,

23   pre-production, production, post-production, and launch.

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 1        21.    During the pitching stage of P3 that began in July 2020, P3 team members brainstormed

 2   ideas, proposed concepts, and submitted a project proposal.

 3        22.    In August 2020, P3 entered the prototyping stage. During the prototyping stage that

 4   spanned from August 2020 to May 2021, the P3 team produced playable versions of P3, repeatedly

 5   revised and tested the game to check the fun and competitiveness elements and assessed the

 6   commercial viability of the game. Even though many projects are dropped during the prototyping

 7   stage, on May 11, 2021, Nexon’s Vice President personally emailed Choi that the P3 project was

 8   approved to progress to pre-production, which is the next stage of game development.

 9        23.    The P3 project officially kicked off pre-production on June 1, 2021. During pre-

10   production, a playable version of the game is finalized after numerous rounds of testing, and

11   detailed plans for the development, distribution, and servicing of the game are set out. However,

12   the P3 project was suspended about halfway through pre-production because half of the P3 team

13   left Nexon to join Ironmace.

14        24.    Upon Nexon management’s approval, P3 would have entered the production stage

15   where the team would have made modifications to the game based on feedback from milestone

16   reviews and in-house playtests to make a game that can be released to the public.

17        25.    Thereafter, P3 would have entered the post-production stage in which external playtests

18   would have been conducted, errors corrected, game performance improved, and business plans

19   drawn.

20        26.    Upon Nexon management’s approval, P3 would have been launched and distributed to

21   the public.

22        27.    Despite the current status of the P3 project, pending the outcome of this case, Nexon has

23   discussed plans to revive P3 and complete development. Based on my experience, Nexon has

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 1   suspended projects but resumed development at a later date. One example is the game titled,

 2   “Dave the Diver.”           Nexon started development of “Dave the Diver” in 2017, suspended

 3   development from 2019 to 2021, but resumed development in February 2021, distributed it via

 4   Early Access in October 2022, and released the game in June 2023.

 5   Playable Versions of the P3 Project Game Were Developed and Park and Choi Had Access

 6                                                 to Them

 7        28.    Defendants claim that by the time Choi and Park left Nexon, there was no near-complete

 8   version of P3 and it had not crystallized into an actual playable game. See Dkt.#32, ¶ 10; Dkt.#29,

 9   at 3. That is not correct. In truth, multiple playable prototypes of P3 were produced during game

10   development.

11        29.    The first playable P3 prototype was created in August 2020 by Yoonsoo Kim (P3

12   designer). This was a preliminary draft version of P3, and the P3 team continued to develop the

13   game and create other playable versions of P3s, which were code named “alpha map,” “beta map,”

14   and “gamma map.” Each of the maps refer to the locations (or “stages”) of gameplay in P3.

15        30.    The P3 team started working on the next playable P3 prototype around December 2020.

16   This P3 prototype, called alpha map, is structured as a cross and includes art resources that

17   correspond to this stage of gameplay. The cross-structure of the alpha map only allowed for basic

18   patterns of gameplay.

19        31.    The P3 team started working on the next playable prototype in April 2021. This P3

20   prototype is code named beta map. After repeated testing, the beta map added four new stages and

21   corresponding resources to the existing cross structure of the alpha map. As a result, the beta map

22   offers a more diverse gameplay compared to the alpha map.

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 1        32.    The P3 team started working on the latest playable P3 prototype in June 2021. This

 2   latest prototype is code named gamma map. The gamma map added a dungeon stage to the existing

 3   cross structure of the alpha map and the four stages of the beta map and their corresponding

 4   resources. Unlike the alpha map and beta map that maintain the same cross-structure and four

 5   stages, the gamma map randomly generates a new dungeon for each gameplay. Therefore, the

 6   players are introduced to a new dungeon stage rather than the same dungeon each time they play

 7   the game, adding to the fun and unexpectedness of the game. Nexon registered the gamma map

 8   prototype (July 21, 2021 version) with the United States Copyright Office.

 9        33.    Choi, Park, and former P3 team members who joined Ironmace all worked on and had

10   access to these playable P3 prototypes.

11                               Extraction Shooter Feature in the P3 Project Game

12        34.    Defendants attempt to distinguish Dark and Darker from P3 by stating that Dark and

13   Darker is an extraction shooter game, whereas P3 is a battle royale game. See Dkt.#32, ¶ 9;

14   Dkt.#29, at 4. This is an inaccurate portrayal. First, both P3 and Dark and Darker apply battle

15   royale game rules. Battle royale rules, derived from professional wrestling, determine the winner

16   of the game in which a large group of players combat one another until only one player (or team)

17   is standing.

18        35. Second, despite Defendants’ claims, P3 is an extraction shooter game. From the start of

19   P3 development, P3 was envisioned to be a medieval fantasy, dungeon adventure, FPS, RPG,

20   PvPvE, and extraction shooter game. P3 was developed by using some of the characteristics

21   present in a prior Nexon project (named Project LF) that was ultimately dropped. The shared

22   characteristics from Project LF include FPS, RPG, medieval fantasy, dungeon adventure, and

23   person versus environment (PvE) elements. To these features, P3 added extraction shooter and

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 1   person versus person (PvP) features. Simply put, P3 is an extraction shooter game, just like Dark

 2   and Darker.

 3        36.    Defendants mischaracterize P3 by incorrectly stating that it lacks an “escape” or “exit”

 4   feature that is common to extraction shooter games. Since the early stages of P3 development, the

 5   plan was to add an escape feature to P3; in fact, Choi included this escape feature in the planning

 6   documents that were drafted on September 9, 2020, and updated on May 20, 2021. Furthermore,

 7   on June 9 and 10, 2021, Yoonsoo Kim (P3 designer) created a basic escape module for P3

 8   including a visual representation of the escape feature using a program called Unreal Editor.

 9   Around June 15, 2021, Dongwon Che (P3 artist) added graphic assets on top of this module to

10   create a visualization of P3 with the escape feature. This escape feature was incorporated in the

11   gamma map.

12        37.    The process of creating the escape feature in P3 is as follows:

13           (a) a project manager drafts a proposal that includes the escape feature and corresponding

14                game rules and graphic work;

15           (b) a level designer creates the basic module where the escape function will be

16                incorporated;

17           (c) a setting/background designer creates 3D models to be used in the game by using

18                programs such as MAX, and then places these graphic assets in the Unreal Editor; and

19           (d) a programmer implements the escape feature in accordance with the project manager’s

20                proposal.

21                                Choi and Others Misappropriated P3 Files

22        38.    At the end of June 2021, Nexon discovered that Choi had exported over 11,602 P3 files

23   to his private servers between December 2020 and June 2021 without Nexon’s authorization.

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 1        39.    On August 31, 2020, Choi asked me for permission to export P3 source code so that

 2   Choi and the P3 team could work remotely during the pandemic. Because P3 was still in the early

 3   pitching stage and storing minimal amounts of source code was a low risk, I gave Choi temporary

 4   approval for the purpose of testing the source code.

 5        40.    Starting in or around December 2020, Choi began exporting P3 build files to his private

 6   servers. Build files are “packs” of executable files that are compiled from source code, game

 7   planning data, audiovisual data, and other data required to run the game. Running the build file

 8   will result in a playable version of P3. In short, these build files are from a more advanced stage

 9   of P3 game development than the P3 source code. I never gave Choi approval to export P3 build

10   files.

11        41.    By February 2021, the P3 project was past the early prototyping stage and Choi should

12   have known that the temporary approval I gave him to export source code for testing was no longer

13   valid.

14        42.    Indeed, Choi recognized that he no longer had permission to export source code, as he

15   asked me for permission again to export P3 source code on February 18, 2021. I rejected his

16   request and instructed him to come into the office to work on P3.

17        43.    Choi’s unauthorized exports of P3 files include, but are not limited to:

18            (a) 2,747 P3 project build files exported to Choi’s private server located in Seosan, Korea

19                between April 6, 2021, and June 18, 2021;

20            (b) 1,719 P3 project build files exported to Choi’s personal server located in his home in

21                Seongnam, Korea between April 7, 2021, and May 13, 2021;

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 1           (c) P3 game planning data (1.29 GB) stored in Confluence, a collaboration tool containing

 2                planning documents, development plans, and status reports related to P3, exported to

 3                and accessed from Choi’s home in May 2021; and

 4           (d) P3 source code downloaded from Nexon’s in-house Git system and exported to Choi’s

 5                private servers between May 2021 and June 2021.

 6        44.    Nexon also learned that Choi had solicited P3 team members to leave Nexon to develop

 7   a game similar to P3. Upon learning about Choi’s recruiting efforts, in June 2021 Nexon conducted

 8   an audit. As a result, Nexon discovered that Choi had transferred P3 source code, build files, and

 9   other project-related data to his private servers without Nexon’s authorization.

10        45.    During the audit, Choi initially agreed to cooperate and turn over his private servers so

11   that Nexon could conduct a forensic analysis and assess the extent of the confidentiality breach.

12   However, on the way to inspect the servers, Choi instructed an acquaintance to permanently delete

13   all the files on his private servers. Despite agreeing to give Nexon access to his servers, Choi told

14   Nexon that he had the server wiped multiple times so that the files could not be recovered or

15   viewed.

16        46.    On July 21, 2021, Nexon dismissed Choi for cause following an audit and disciplinary

17   hearing. Park left Nexon on August 9, 2021, and subsequently about half of the P3 team left Nexon

18   and joined Ironmace. As a result of losing more than half of the P3 team, Nexon temporarily

19   suspended development of P3 on August 18, 2021.

20        47.    Since initiating this action, Nexon has recently learned that two former Nexon

21   employees that joined Ironmace, Sung-wook Hyun (P3 artist) and Tae Woong Lee (P3 artist), had

22   illicitly downloaded confidential P3 data before leaving Nexon.

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 1                        New Evidence of Misappropriation Have Come To Light

 2        48.    Since filing its complaint, Nexon has learned that on June 29, 2021, Sung-wook Hyun

 3   downloaded P3 data to an external hard drive. Moreover, on August 10, 2021, he downloaded P3

 4   data including the list of purchased assets. The next day, on August 11, 2021, Sung-wook Hyun

 5   informed Nexon of his intent to leave and ultimately left the company on August 31, 2021 before

 6   joining Ironmace.

 7        49.    Nexon also learned that Tae Woong Lee exported P3 data from Nexon without

 8   authorization from June 25, 2021, to July 6, 2021. He also exported additional P3 data between

 9   August 6 and August 18, 2021, using iCloud. He left Nexon on September 1, 2021 before joining

10   Ironmace.

11                     The United States Is the Largest Market for Dark and Darker

12        50.    After Choi and Park left Nexon, they co-founded Ironmace on October 20, 2021. When

13   Ironmace released Dark and Darker playtests, I, along with other Nexon employees, was shocked

14   to learn that Dark and Darker was almost identical to P3.

15        51.    Based on information posted by Defendants, the playtests for Dark and Darker were

16   popular, especially among players in the United States. After each playtest, Defendants posted the

17   playtest statistics (available on GameCharts) on the “Dark and Darker” server of Discord,

18   including a breakdown of the demographics of Dark and Darker players by country. The statistics

19   show that for all five Dark and Darker playtests, the number of players from the United States far

20   exceeded the number of players from any other country.

21        52.    For the first playtest, about 6,000 players, comprising 66.34% of all Dark and Darker

22   players, were from the United States. Players from Korea comprised just 5.21%. For the second

23   playtest, 266,906 Steam accounts were created and 45.8% of all Dark and Darker players were

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 1   from the United States. The second biggest demographic was Canadian players at 6.51%. Players

 2   from Korea comprised only 3.73% of all players. For the third playtest, 1,144,273 Steam accounts

 3   were created and 38.67% of all Dark and Darker players were from the United States. The next

 4   highest demographic was Japanese players at 7.94%. Players from Korea only accounted for

 5   4.56% of the players. For the fourth playtest, 1,903,938 Steam accounts were created and 31.52%

 6   of the players were from the United States. The next highest demographic was Japanese players

 7   at 11.32%. Players from Korea accounted for 10.12% of the players. For the fifth and latest

 8   playtest, only 457,181 accounts—a fraction compared to the number of accounts created in the

 9   previous playtests—were created. Despite the lower number of participants, 39.23% of Dark and

10   Darker players were from the United States, with Japan making up the second highest demographic

11   at 7.67%. Because the fifth playtest was geo-blocked (restricted by geographic location) and not

12   made available to players in Korea, the statistics do not reference Korean players. Relevant

13   excerpts of the playtest statistics posted by Defendants on Discord are attached hereto as

14   Exhibit B.

15        53.    Pursuant to the Game Industry Promotion Act, in most cases, a rating (or classification)

16   from the Game Rating and Administration Committee must be obtained before a game can be

17   serviced in Korea. In the latest playtest that was conducted via BitTorrent in April 2023, Ironmace

18   announced that it could not service Dark and Darker in Korea due to compliance issues with

19   Korean game rating regulations. Thus, access to Dark and Darker was geo-blocked for Korean

20   players and they could not participate in the April 2023 playtest.

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 1                               Source Code for Darker and Darker Is in English

 2        54.    In the Motion, Defendants state that “the source code and programming notes that show

 3   how Dark and Darker was built . . . are all in Korean.” Dkt.#29, at 5. Based on my experience in

 4   the gaming industry, Defendants’ statement is misleading.

 5        55.    “Source code” is a collection of instructions in a computer programming language that

 6   tell a computer how to execute a program. Source code is the fundamental basis of a computer

 7   program. “Programming notes” usually refer to notes in a natural language that explain or provide

 8   commentary on the source code. A computer executes a program based on source code, but it does

 9   not execute a program based on programming notes.

10        56.    The supporting declarations on which Defendants rely to make this statement are

11   narrower and do not state that the “source code” or “source code and programming notes” are all

12   in Korean. Instead, they only state that ancillary documentation related to Dark and Darker and

13   internal team notes are in Korean.

14        (a) Choi states in his declaration, “[t]he source code and its development records, which

15              demonstrate the construction method of Dark and Darker, will clearly confirm that we

16              developed Dark and Darker without using any proprietary assets or code from Nexon

17              Korea. Our internal team discussed and documented the programming of Dark and

18              Darker all in Korean.” Dkt.#32, ¶ 19 (emphasis added).

19        (b) Park states in his declaration, “[t]he source code and programming notes showing how the

20              game was built will also confirm that we did not use any proprietary assets or code from

21              Nexon in building Dark and Darker.       Our internal team notes that we used when

22              programming Dark and Darker are all in Korean.” Dkt.#33, ¶ 15 (emphasis added).

23

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 1        57.    Nexon wrote P3 source code in C++ programming language using the Unreal Engine

 2   and revised the source code using Microsoft Visual Editor. C++ is a programming language that

 3   is built on the English alphabet. Almost all source codes for Nexon’s games are based in English,

 4   and, because mainstream programming languages used in the industry are built in English, source

 5   code in videogames are inherently written in English. Considering Dark and Darker is created

 6   using the Unreal Engine, it is certainly likely that the source code of Dark and Darker is also based

 7   in English, and Choi and Park never state otherwise.

 8        58.    For both P3 and Dark and Darker, the textual elements of the two games are in English.

 9   For instance, the names of the character class, description and inventory of equipment and

10   weapons, player statistics (strength, dexterity, intelligence, speed, etc.,) are all written in English.

11                               Ironmace Has Received Funding from Investors

12        59.    Defendants imply that as a small independent gaming studio, Ironmace cannot afford to

13   litigate this lawsuit. See Dkt.#29, at 2. However, even before Choi left Nexon, he told the P3 team

14   members that he had secured funding from investors for the new company and that they should

15   leave Nexon with him. I also read in a March 14, 2023, article in MTN News that as of April 2022,

16   the total number of shares issued by Ironmace exceeded 500,000, and that additional shares have

17   been issued since. According to this report, Must Ventures, a venture capital firm based in Korea,

18   and another venture capital firm are said to have invested in Ironmace in April 2022.

19           I declare under penalty of perjury under the laws of the United States of America that the

20   foregoing is true and correct to the best of my knowledge.

21
                EXECUTED this 10th day of July 2023 at Gyeonggi, Korea.
22

23
                                                                     _______________
24                                                                   Yi-kwon Hwang


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